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 7
                          UNITED STATES DISTRICT COURT
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                                 EASTERN DISTRICT OF CALIFORNIA
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10   UNITED STATES OF AMERICA,                          Case No. 1:13-CR-0362 AWI-BAM

11                      Plaintiffs,                     ORDER RE REQUEST FOR
                                                        ELECTRONIC FILING AND TO
12           v.                                         ADDRESS APPOINTMENT OF
                                                        STANDBY COUNSEL
13   GAYLENE LYNNETTE BOLANOS, et al.,
                                                        Motion Filing Deadline: July 25, 2014
14                      Defendants.
                                                        Standby Counsel Deadline: August 11, 2014
15   _____________________________________/

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17          Defendant, Gaylene Lynnette Bolanos, is proceeding pro se in this criminal action

18 pursuant to Faretta v. California, 422 U.S. 806 (1975). At the status conference on July 1, 2014,

19 the issue of Ms. Bolanos’ receipt of mail and correspondence from counsel and the Court was

20 discussed, as more fully placed on the record. Ms. Bolanos requested the Court approve her for

21 electronic filing. Pursuant to Local Rule 133(b), Ms. Bolanos shall file her written motion setting

22 forth an explanation of the reasons for permitting electronic filing no later than July 25, 2014.

23          Further, at the status conference, the Court continued the hearing on Defendant Calles’

24 motion to deem this case complex, pursuant to 18 U.S.C. §3161, to August 19, 2014.

25          In light of the motion and the issues raised, the amount of discovery, and the proceedings

26 to date in this case, the Court also intends to address appointment of standby counsel for Ms.
27 Bolanos at the August 19, 2014 hearing. As this Court intends the term, ‘standby counsel’ means

28 an attorney appointed by the court to be prepared to represent the defendant if the defendant's self-
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 1 representation is terminated. See United States v. Salemo, 81 F.3d 1453, 1456 n. 2 (9th Cir. 1996).

 2 Standby counsel is to be appointed for the continuity of this case, in the interests of judicial

 3 economy, and for efficient case management, communication, and effective trial preparation and

 4 trial. Until further order of the Court, standby counsel will not represent Ms. Bolanos and will not

 5 be advisory counsel, and Ms. Bolanos will have actual control over the content of her defense and

 6 her representation in court. The government and Ms. Bolanos, and any other party wishing to be

 7 heard, shall file briefing on this issue no later than August 11, 2014.

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     IT IS SO ORDERED.
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10      Dated:    July 2, 2014                                /s/ Barbara A. McAuliffe           _
                                                       UNITED STATES MAGISTRATE JUDGE
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